      Case 1:07-cr-00252-LMB Document 399 Filed 11/15/10 Page 1 of 6 PageID# 2099



                IN THE UNITED STATES DISTRICT COURT FOR THE
                       EASTERN DISTRICT OF VIRGINIA
                              Alexandria Division



 UNITED STATES OF AMERICA

 v.                                            l:07cr252(LMB)
                                               l:10cv893 (LMB)
 BILAL SALEEM,

         Defendant.



                               MEMORANDUM   OPTNTOM


         The defendant pro se, Bilal Saleem, has filed a rambling,
 nearly indecipherable Application for Habeas Corpus [Dkt. No.
 397], which can best be construed as a motion under 28 U.S.C. §
 2255.     Besides failing to allege any constitutional defect in his
 conviction or sentence, this motion is time-barred.             Accordingly,
 it will be dismissed for the reasons discussed in more detail
below.1


                                 I.   BACKGROUND


        On October 3, 2007, Saleem, who was represented by retained
counsel, pled guilty to Counts 1 and 7 of the Superseding
Indictment, which respectively charged conspiracy in violation of
18 U.S.C. § 371 and mail fraud in violation of 18 U.S.C. § 1341.
On December 14, 2007, Saleem was sentenced to 60 months


       When a § 2255 motion is filed "the judge who receives the
motion must promptly examine it. If it plainly appears from
the motion, any attached exhibits, and the record of prior
proceedings that the moving party is not entitled to relief, the
Dudge must dismiss the motion and direct the clerk to notify the
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Case 1:07-cr-00252-LMB Document 399 Filed 11/15/10 Page 2 of 6 PageID# 2100
Case 1:07-cr-00252-LMB Document 399 Filed 11/15/10 Page 3 of 6 PageID# 2101
Case 1:07-cr-00252-LMB Document 399 Filed 11/15/10 Page 4 of 6 PageID# 2102
Case 1:07-cr-00252-LMB Document 399 Filed 11/15/10 Page 5 of 6 PageID# 2103
Case 1:07-cr-00252-LMB Document 399 Filed 11/15/10 Page 6 of 6 PageID# 2104
